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 1   SO. CAL. EQUAL ACCESS GROUP
     Jason J. Kim (SBN 190246)
 2   Jason Yoon (SBN 306137)
 3
     101 S. Western Ave., Second Floor
     Los Angeles, CA 90004
 4   Telephone: (213) 252-8008
     Facsimile: (213) 252-8009
 5   scalequalaccess@yahoo.com
 6   Attorneys for Plaintiff
     MIGUEL HERNANDEZ
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     MIGUEL HERNANDEZ,                                 Case No.: 2:20-cv-09153 AB (JEMx)
11
12                Plaintiff,
13         vs.                                         NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
14                                                     WITH PREJUDICE
     ALHAMWY SAMERA D/B/A FIESTA
15   LIQUOR; H & H ENTERPRISE, A
16   CALIFORNIA GENERAL
     PARTNERSHIP; and DOES 1 to 10,
17
18                Defendants.
19
20
           PLEASE TAKE NOTICE that MIGUEL HERNANDEZ
21
      (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
22
     voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
23
     Procedure Rule 41(a)(1) which provides in relevant part:
24
           (a) Voluntary Dismissal.
25
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                         and any applicable federal statute, the plaintiff may dismiss an action
27
28
                         without a court order by filing:


                                                   1
          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:20-cv-09153-AB-JEM Document 15 Filed 11/16/20 Page 2 of 2 Page ID #:53




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: November 16, 2020 SO. CAL. EQUAL ACCESS GROUP
 8
 9                                  By:      /s/ Jason J. Kim
10                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
